Case 1:21-cr-00040-TNM Document 43 Filed 04/27/21 Page 1of1

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Notice of Appeal Criminal Rev. 3/88
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United States District Court for the District of Columbia

 

UNITED STATES OF AMERICA )
™ } Criminal No, 21-0140 and 21-365
Christopher J. Quaglin
NOTICE OF APPEAL

Christopher J. Quaglin
1271 Haverford Street
North Brunswick, New Jersey 08902

Name and address of appellant:

Carlos Diaz-Cobo

Law Offices of Carlos Diaz-Cobo
35 Court Street

Freehold, New Jersey 07728

Name and address of appellant’s attorney:

Offense: 48 USC 111(@)(1) and (2) and (b); 18 USC 1521(c)(2); 18 USC 231 (a)(2); 18 USC 1752(a)(2) and (b)(1) (A)

Concise statement of judgment or order, giving date, and any sentence:

Notice is hereby given that Christopher J. Quaglin, defendant in the above-captioned matter is appealing
to the United States Court of Appeals for the District of Columbia from the April 16, 2021 Order of
detention pending trial entered by the Honorable Beryl A. Howell, Chief Judge of the United States
Disirict for the District of Columbia.

Essex County Correctional Facility

Name and institution where now confined, if not on bail: Newark, New Jersey

I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.

A\ S130 Ch Stegner hy Voc lia:

DATE APPELLANT:

 
    

 

ATTORNEY FOR APPE/

 

GOVT. APPEAL, NO FEE

 

CIA, NO FEE

PAID USDC FEE v

PAID USCA FEE

Does counsel wish to appear on appeal? ves[~] no[]
Has counsel ordered transcripts? yes[“] no[_]

Is this appeal pursuant to the 1984 Sentencing Reform Act? YES El NO

 
